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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00022-MP-AK

WILLIE DAMOND GREEN,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on an oral motion to continue the sentencing hearing,

made by Defendant Willie Green. In open court, Defendant Green moved to continue his

sentencing, currently scheduled for August 2, 2007. The Government agreed to the request. The

motion is granted, and sentencing is hereby reset for Thursday, August 23, 2007, at 1:30 p.m.



       DONE AND ORDERED this            1st day of August, 2007


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
